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                              Exhibit B




{01240268-1 }
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                                                                                CLARK W. SESSIONS i     JONATHAN S. CLYDE a



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                                                                                NEIL A. KAPLAN'         JONATHAN D. BLETZACKER
                                                                                D. BRENT ROSE           JOHN S. PENNINGTON
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                                                                                JAMES W. ANDERSON       A    ALSO ADMITTED IN OREGON
                                                                                                        •    ALSO ADMITTED IN WYOMING
                                                                                DIANA L. TELFER
                                                                                                        It   ADMITTED IN OREGON ANO DISTRICT OF
                                                                                SHANNON K. ZOLLINGER         COLUMBIA (NOT ADMITTED IN UTAH)




                                                              October 3, 2017


             Via email


             Zachary T. Carlyle
            Terry R. Miller
            United States Security & Exchange Commission
            1961 Stout Street, 17th Fl.
            Denver, CO 80294


                       Re:             SEC v. Alpine Securities Corp., 1:1 7-cv-041 79-DLC


            Dear Messrs. Carlyle and Miller:


                      This letter is in response to your letter dated September 29, 2017, and is being
            sent in an effort to meet and confer pursuant to S.D.N.Y. Local Civil Rule 37.2 and Judge
            Cote's Individual Practices, and in anticipation of our telephone call scheduled for
            tomorrow, October 4, 2017.


                          As an initial matter, we dispute your contentions that the September 29, 2017
            letter and Tables A through E are "not governed by any discovery rule or obligation,"
            and that we declined your request to provide the information in an interrogatory. You
            produced these Tables on September 29, 2017 because, at the September 15, 2017 Rule
            26(f) pretrial conference, the Court ordered you to provide information by September
            29, 2017 that identified: (a) each individual SAR decision or filing at issue in the
            Complaint and (b) for each SAR so identified, the basis for the SEC's contention that it is
            deficient. It is my recollection that you offered to provide this information, and that the
            Court merely shortened the time frame for its production.
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       Of greater concern, at the present time we also do not believe that the
information you provided on September 29, 2017 complies with the Court's order with
respect to the information provided in at least Tables A and B.


                                          Table A

       With respect to Table A, the information you provided is helpful to identify the
SAR filings at issue in Paragraphs 28-33 of the Complaint However, Table A does not
provide sufficient information for us to determine why the SEC claims that each of
these SAR filings are deficient. For example, in the cover letter accompanying Table A,
you state that the "SARs listed in Table A are either deficient on their face and/ or
deficient when compared to supporting SAR files that contain the red flags omitted
from the SARs." (See September 29, 2017 letter, at 2.) Alpine disputes these allegations.


       The description you provided and the information on Table A are inadequate
because they do not provide sufficient information for us to determine (a) which SARs
the SEC claims are deficient "on their face"; (b) which SARs the SEC claim are deficient
when "compared to supporting SARs files"; or (c) what information in the "SARs files"
the SEC contends constitutes a "red flag" for that particular transaction.


       Although we presume that the SEC contends that those SAR filings identified on
Table A for which no supporting documents are identified are defective on their face,
we remain uncertain, particularly because you used the ambiguous conjunction

"and/ or" (which could mean either or both) when describing the alleged deficiencies at
issue in Table A. Furthermore, because Table A also fails to identify what information
the SEC contends constitutes a "red flag" in Alpine's "SAR files," we are left to guess at
the SEC's theory of why each of the SARs on Table A is deficient. We attempted to
locate and pull files for several of the SARs identified on Table A to see if we could
discern the SEC's theory from the SAR itself or the supporting files, but the effort was
unsuccessful because we do not know what the SEC claims is wrong with each SAR
from the information provided.


       This information should not be difficult for you to provide, and should be in
your possession, as it forms the basis in part for the SEC's complaint against Alpine.
Notably, the SEC provided the very detail we are seeking in the "example" transactions
identified in Paragraphs 31 and 32 of the Complaint. But, from the information
provided in Table A, we could not even determine the SARs and "SAR files" to which
those example relate.
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        Therefore, with respect to Table A, we respectfully request that you provide the
 following information by the end of the week: (a) clarify whether the SEC contends that
 the SARs identified on Table A for which there are no supporting files referenced
constitute only facially deficient SARs; (b) clarify whether the SEC contends that the
SARs identified in Table A for which there is a supporting file referenced are deficient
only "when compared to supporting SAR files that contain the red flags omitted from
the SARs"; and (c) identify what information in the "SARs files" the SEC contends
constitutes a "red flag" for that particular transaction - similar to what was provided in
Paragraphs 31 and 32 of the Complaint.


                                           Table B

       In the cover letter accompanying Table B, you state that, "[f]or each violation
alleged in paragraphs 34-38 [of the Complaint], the list in Table B identifies each
transaction for which Alpine failed to file a SAR." (September 29, 2017 Letter, at 2.) In
Paragraphs 34-38, the SEC alleges that Alpine filed a SAR on certain deposits of
securities, but did not file a subsequent SAR when the deposits were liquidated or the
proceeds from the liquidated deposits were transferred. Alpine disputes these
contentions and any allegation that it had a legal obligation to file SARs in these
circumstances.


       However, once again, the information you provided in the cover letter and Table
B is inadequate because it fails to provide sufficient information for Alpine to identify
the original deposits of securities to which the transactions identified in Table B relate.
As far as we can tell, Table B only identifies transactions for which the SEC claims
Alpine failed to file a SAR, presumably (from the cross-reference to Paragraphs 34-38 of
the Complaint) on the liquidation of a deposit of securities, without identifying the
initial deposit at issue. The omission of this information makes tracking the
transactions referenced in Table B to the deposit impossible because it requires us to
either guess or make assumptions as to the identity of the initial deposit.

       Once again, this information should not be difficult for you to provide, and
should be in your possession, as it forms the basis in part for the SEC's complaint
against Alpine. In fact, we believe that you have ready access to this information
because the Complaint alleges in Paragraph 35 that "Alpine filed a SAR on
approximately 1,900 deposits of a security," in connection with the allegations at issue
in Table B.
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        Therefore, with respect to Table B, we respectfully request that by the end of the
week you identify the alleged original deposits of securities to which the transactions
identified in Table B relate.

      The requested information with respect to Tables A and B is necessary for Alpine
to understand the allegations in the SECs Complaint in a timely fashion and to respond
to and defend against these allegations. We are still in the process of reviewing the
information provided in Tables C through E, and thus reserve any further objections to
the completeness of those productions. We also reserve the right to seek any additional
relief from the Court for the delay caused by the incomplete production of information
in a timely fashion.



                                  Sincerely,


                                  CLYDE SNOW & SESSIONS




                                  Aaron D. Lebenta
                                  Brent R. Baker
                                  Jonathan D. Bletzacker
